






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00032-CR






In re Scala D. Byers




George Alford Heidleberg, Jr., Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF DALLAS COUNTY, 265TH JUDICIAL DISTRICT


NO. F-0155561-IR, HONORABLE KEITH T. DEAN, JUDGE PRESIDING






O R D E R   T O S H O W   C A U S E


PER CURIAM

This is a contempt proceeding ancillary to George Alford Heidleberg's appeal from
a judgment of conviction for aggravated assault.  The subject of this proceeding is Ms. Scala D.
Byers, appellant's counsel.

The time for filing appellant's brief in this cause was extended three times on
counsel's motion.  On June 12, 2003, in granting the third motion, this Court ordered counsel to
tender a brief on appellant's behalf no later than June 18, 2003. Counsel failed to file a brief as
ordered.

Therefore, the said Scala D. Byers is ordered to appear in person before this Court
on the 10th day of September 2003, at 8:30 o'clock a.m., in the courtroom of this Court, located in
the Price Daniel, Sr. Building, 209 West 14th Street, City of Austin, Travis County, Texas, then and
there to show cause why she should not be held in contempt and sanctions imposed for her failure
to obey the June 12, 2003, order of this Court.  This order to show cause will be withdrawn and the
said Scala D. Byers will be relieved of her obligation to appear before this Court as above ordered
if the Clerk of this Court receives appellant's brief by September 5, 2003.

It is ordered July 25, 2003.


Before Chief Justice Law, Justices B. A. Smith and Patterson

Do Not Publish


